


  SUAREZ, J.
 

  This is an appeal of an order summarily denying a motion under Florida Rule of Criminal Procedure 3.850. On appeal from a summary denial, this Court must reverse unless the post-conviction record, shows conclusively that the appellant is entitled to no relief.
  
   See
  
  Fla. R.App. P. 9.141(b)(2)(A), (D).
 

  Valdes claims that he was not advised by the trial court of the deportation conse
   
   *995
   
  quences of his plea. The trial court’s order denying relief failed to address this claim. Because the record now before us fails to make the required showing, we reverse the order and remand for an evi-dentiary hearing or other appropriate relief. If the trial court again enters an order summarily denying the post-conviction motion, the court shall attach record excerpts
  
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  conclusively showing that the appellant is not entitled to any relief.
 

  Reversed and remanded for further proceedings.
 



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   . The plea colloquy, for example.
  
